     Case 4:17-cr-00275-KGB Document 162 Filed 10/02/19 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT                        EA.sit:.fFILED
                                                                                      DISTRICT COURT
                FOR THE EASTERN DISTRICT OF ARKANSAS                                 N DIS TR!CT ARKANSAS

                         LITTLE ROCK DIVISION                                    y.P, ,,r O~. 2019
                                                                    JAMES
UNITED STATES OF AMERICA,                 §                         By: _      __,_              K, CLERK
                   Plaintiff,             §
                                          §
v.                                        §      CASE NO. 4:17CR00275-01-JLH
                                          §
RODNEY ADAM HURDSMAN,                     §
                 Defendant.               §


                               NOTICE OF APPEAL

      Notice is hereby given, that, RODNEY ADAM HURDSMAN, the Defendant

in the above-styled and numbered cause, appeals the Additional Supervised Release

Terms of his Sentence as entered in the Judgement in this case on the 24th day of

September, 2019, to the United States Court of Appeals of the Sixth Circuit. The

Defendant takes this appeal pursuant to Rules 3 & 4 of the Federal Rules of Appellate

Procedure, and pursuant to the United States Constitution.


                                                Respectfully submitted,



                                              By: _ ____,,__ _ _ _ _ _ _ _ __
                                                RODNEY   AM HURDSMAN
                                                DEFENDANT


                                                Rodney A. Hurdsman #26372-177
                                                West Tennessee Detention Facility
                                                6299 Finde Naifeh Jr., Drive
                                                Mason, Tennessee 38049


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Rodney A. Hurdsman #26372-177
West Tennessee Detention Facility                                              M f]'-'f PHIS.TN 3:FJO

6299 Finde Naifeh .Jr. Drive                                           .3CJi   s:.r::~, 2r) :it£-1 ··F;Er:? 3. J_.
Mason,Tennessee 38049


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                                      Clerk, U.S. District Court
                                      U.S. Federal Courthouse
                                      600 West Capitol Avenue, Suite A149
                                      Little Rock, AR 72201-3325



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